                                                                                   DISTRICT OF OREGON
                                                                                      FILED
                                                                                    September 09, 2020
                                                                               Clerk, U.S. Bankruptcy Court



        Below is an order of the court.




                                                                _______________________________________
                                                                           DAVID W. HERCHER
                                                                          U.S. Bankruptcy Judge




                                  UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF OREGON

In re                                        )   Case No.     20-31020-DWH7
 MARK F. HAUETER                             )
                                             )   Motion and Notice of
                                             )   Intent to Incur Expenses;
                                             )   and Order Thereon
Debtor(s)                                    )



1.       The undersigned trustee, Jeanne E. Huffman                    , moves for an order authorizing
         the payment of the following expenses from property of the estate as follows:

Payee                                  Item (include explanation)                             Amount
American National                      Property and casualty insurance                          1018.50

Payment Processing Center              for 4/3/20-4/3/21, total $2022, remaining

POB 22019                              premium balance due, #1137 Special Farm Pkg

Albany NY 12201-2019




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2.       The foregoing expenses are justified by the following facts:
        Continued coverage necessary to protect property during pending bankruptcy sales process.
        Policy is under review to determine if certain protections are no longer necessary. Appropriate
        refund will be issued to estate.




IT IS ORDERED, AND NOTICE IS GIVEN, that the trustee may incur and pay the above expenses from
estate funds without further notice or court order, unless within 23 days of the date in the “Filed”
stamp, an interested party:

(1) files a written objection, setting forth the specific grounds for the objection, with the clerk at 1050
SW 6th Ave. #700, Portland OR 97204 or 405 E 8th Ave. #2600, Eugene OR 97401; and

(2) serves the objection on the trustee at:
POB 1674, Pendleton OR 97801
                                                                                                          .

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Date:      09/08/2020                                    /s/ Jeanne E. Huffman
                                                                              Trustee




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